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                              EXHIBIT E
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   April 10, 2024                                                         FILE NO: 099997.0007105




   VIA FEDERAL EXPRESS AND EMAIL

   Kathryn Wyer
   Federal Programs Branch
   United States Department of Justice
   Civil Division
   1100 L Street, NW, Room 12014
   Washington, D.C. 20005
   kathryn.wyer@usdoj.gov

                    Re:   Touhy Request for Testimony Pursuant to 32 CFR Part 516

   Dear Ms. Wyer:

           As you know, this law firm represents John Doe and Jane Doe (“the Does”), in the litigation
   Doe et al. v. Mast et al., 3:22-cv-00049-NKM-JCH (W.D. Va.) (the “Litigation”). The Litigation
   relates to the Does’ child, Baby Doe, who was in U.S. government custody between September
   2019 and February 2020 at Bagram Airfield in Afghanistan after being recovered following a U.S.
   military operation. Baby Doe was taken by Defendants Joshua Mast and Stephanie Mast from our
   clients’ physical custody in September 2021.

           Pursuant to 32 CFR § 97 and § 516 et seq, please allow this letter to serve as a request
   under Touhy v. Ragen, 340 U.S. 462 (1951) and the controlling statutes and Department of Defense
   (“DoD”) regulations (including DoD Directive 5405.2), seeking the DoD’s authorization of release
   of official information.

          In accordance with 32 CFR §§ 97 and 516.1 et seq, the Does set forth below the bases for
   this Touhy request.

          Background

           As your office is aware, in litigation styled Baby L. v. Esper., et al., No. 3:20-cv-00009
   (W.D. Va.), U.S. Marine Corps then-Captain Joshua Mast attempted to enjoin the U.S.
   government, including the Department of Defense, from releasing Baby Doe to the Government
   of the Islamic Republic of Afghanistan (“GIRoA”) for reunification with her family. The federal

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   court denied the Masts’ TRO application in February 2020, and Baby Doe was released to the
   GIRoA, who reunited her with her paternal uncle. Baby Doe’s uncle delegated guardianship of
   Baby Doe to his son (Baby Doe’s cousin) and daughter-in-law, our clients John and Jane Doe.

           Nevertheless, the Masts returned to the Fluvanna County Circuit Court and obtained a final
   adoption order over Baby Doe in December 2020 – despite the federal court’s ruling in the Baby
   L. case – without serving notice of these continued proceedings on our clients, who had physical
   and legal custody of Baby Doe. The Masts, acting in their private capacity, also failed to serve
   notice on the U.S. government, which they had similarly failed to notice in their original petitions
   for custody and adoption.

           Simultaneously, the Masts worked through an agent named Kimberley Motley to locate
   and contact our clients in Afghanistan within weeks of Baby Doe’s family reunification. Motley
   was in regular correspondence with the Does during the course of the adoption proceedings and
   before the adoption was finalized, while keeping the adoption proceedings and the identity of the
   Masts secret.

           After the adoption order from the Fluvanna County Circuit Court became final, Joshua
   Mast revealed his identity to our clients, convinced them to bring Baby Doe to the United States
   to obtain supposedly urgent medical care, and placed them on an evacuation flight from Kabul in
   August 2021, all while concealing the existence of the adoption order. He then used the Virginia
   court order to take her away from them soon after they arrived at refugee housing on a U.S. military
   base in Virginia.

           Our clients had raised Baby Doe as their own child for approximately 18 months at that
   point and were not informed of, and have never consented to, her adoption by Joshua Mast and his
   wife Stephanie Mast. The adoption order and current physical custody over Baby Doe were
   effected through fraud and misrepresentation on multiple agencies, on the courts, and on our clients
   themselves. For this reason, our clients petitioned the Fluvanna County Circuit Court to vacate the
   adoption on the following grounds:

          (1)       The Court lacked subject matter jurisdiction over the adoption;

          (2)       The Court lacked personal jurisdiction over multiple necessary parties, including
                    the Department of Defense and the infant at issue;

          (3)       The adoption order was obtained by fraud, as shown through a pattern of material
                    omissions and misrepresentations made by the Masts to multiple courts,
                    government authorities, our clients, and other interested parties; and/or
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          (4)       The adoption conflicts with the sovereign determination of the U.S. government to
                    recognize the jurisdiction of the Afghan government and provide for family
                    reunification of a foreign child in a foreign country, which renders the adoption
                    void under the Supremacy Clause of the U.S. Constitution.

           The Fluvanna County Circuit Court did, in fact, vacate the final adoption order on May 3,
   2023, finding that the order was void ab initio.

         Our clients understand that the Department of Defense was among the agencies of the U.S.
   government who worked to reunite Baby Doe with her family in Afghanistan.

          In the Litigation, our clients seek, among other relief, a declaratory judgment that:

      •   under the Supremacy Clause of the United States Constitution, the decisions of the United
          States to recognize Baby Doe’s legal status as an Afghan citizen, and to recognize the
          Government of Afghanistan’s jurisdiction over her, are binding and cannot be overridden
          or contradicted by a state court;

      •   at the time that Joshua and Stephanie Mast obtained a custody order for her from the
          Juvenile Court, Baby Doe was not “stateless,” but was an Afghan citizen;

      •   at the time that Joshua and Stephanie Mast obtained an adoption order for her from the
          Circuit Court, Baby Doe was not “stateless,” but was an Afghan citizen;

      •   GIRoA never waived jurisdiction over Baby Doe for the purpose of her custody or adoption
          by Joshua and Stephanie Mast in the United States;

      •   Baby Doe had no connection, let alone a significant connection, to the Commonwealth of
          Virginia at the time that Joshua and Stephanie Mast obtained a custody order for her from
          the Juvenile Court;

      •   Baby Doe had no connection, let alone a significant connection, to the Commonwealth of
          Virginia at the time that Joshua and Stephanie Mast obtained an adoption order for her
          from the Circuit Court;

      •   neither Baby Doe’s biological parents, nor Jane and John Doe, had a significant connection
          with the Commonwealth of Virginia at the time that Joshua and Stephanie Mast obtained
          a custody order for her from the Juvenile Court;
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        •   at the time that Joshua and Stephanie Mast obtained the custody order for Baby Doe, she
            was in the physical custody of the United States military in Afghanistan and, therefore, was
            beyond the jurisdiction of the Juvenile Court or any court of the Commonwealth of
            Virginia;

        •   at the time that Joshua and Stephanie Mast obtained an adoption order for her from the
            Circuit Court, Baby Doe was not living in their home but was in Afghanistan;

        •   under the Supremacy Clause of the United States Constitution, the decision of the United
            States to exercise its foreign affairs powers by allowing Baby Doe’s transfer to the GIRoA
            for family reunification supersedes and nullifies any conflicting state court action;

        •   under the Supremacy Clause of the United States Constitution, a state court lacks authority
            to override the Executive Branch’s foreign policy decision to allow Baby Doe’s transfer to
            the GIRoA for family reunification; and

        •   the decision of the United States to transfer Baby Doe to the GIRoA for family reunification
            was an exercise of the Executive’s foreign affairs power that is binding on state courts.

   I.       Nature and Relevance of Information Sought - 32 CFR § 516.41(d)

            We respectfully request the following testimony and information from your agency:

        1. Deposition testimony for Col. Joseph M. Fairfield.

        2. All communications attached as Exhibit 1 to Col. Joseph M. Fairfield’s August 22, 2022,
           Declaration in A.A. and F.A. v. J.M. and S.M., No. CL22000186-00.

        3. All communications attached as Exhibit 2 to Col. Joseph M. Fairfield’s August 22, 2022,
           Declaration in A.A. and F.A. v. J.M. and S.M., No. CL22000186-00.

        4. Minutes of Ministry of Social Affairs’ Meeting on 23 October 2019, attached as Exhibit A
           to Col. Joseph M. Fairfield’s November 7, 2022, Second Declaration in A.A. and F.A. v.
           J.M. and S.M., No. CL22000186-00.

        5. Minutes from Ministry Labor and Social Affairs on 30 October 2019, attached as Exhibit
           B to Col. Joseph M. Fairfield’s November 7, 2022, Second Declaration in A.A. and F.A. v.
           J.M. and S.M., No. CL22000186-00.
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          Purpose:

           The information we seek is for the purpose of demonstrating in the Litigation that, at the
   time that Joshua and Stephanie Mast obtained their custody and adoption orders, Baby Doe was
   not “stateless,” but was an Afghan citizen.

           Further, we seek to demonstrate that the GIRoA never waived jurisdiction over Baby Doe
   for the purpose of her custody or adoption by Joshua Mast and Stephanie Mast in the United States.

          Relatedly, we seek to demonstrate that the Department of Defense had physical custody of
   Baby Doe from September 6, 2019 through February 27, 2020, and did not receive notice of the
   custody or adoption proceedings in a manner that permitted the United States to contest the
   inaccurate factual findings made in those proceedings; that the GIRoA maintained jurisdiction over
   Baby Doe and in fact, requested her release to family in Afghanistan; and that the Department of
   Defense in fact released Baby Doe to the Afghan Government, in particular, the Ministry of Labor
   and Social Affairs, for reunification with her family.

          Additionally, Joshua Mast has, in the related vacatur proceeding, called witnesses from
   DoD to testify on his behalf, in addition to submitting documents containing official government
   information. Mast has used this information to advance false allegations that the U.S. government
   engaged in a politically-motivated conspiracy to cover up the child’s “foreign fighter” origins by
   placing her with an Afghan family of no relation to her. We seek information to rebut these claims,
   which cannot be challenged without an opportunity to present accurate government information
   from DoD officers who have knowledge of these claims’ falsity.

           The information sought is relevant to the Litigation because it strikes at the heart of one of
   the issues before the court: that Joshua and Stephanie Mast provided (and continue to provide)
   misleading and/or fraudulent information to various courts in their effort to adopt a child who was
   in the custody of the United States, and under the jurisdiction of Afghanistan, by implying Joshua
   Mast was acting with the imprimatur of the U.S. government and claiming that the GIRoA did not
   maintain jurisdiction over the child.

   II.    Considerations in determining whether the Department will comply
          with a demand or request. § 32 C.F.R. § 97.8.

   Compliance with this request will not be unduly burdensome or otherwise inappropriate
   under the applicable court rules, and release is appropriate under the rules of procedure
   governing the case. § 32 C.F.R. § 97.8(a) and (b).

   We seek a limited amount of information that can be produced without burdensome review. The
   documents requested were already produced by the U.S. government in the related vacatur
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   proceeding. We are happy to confer to further limit the scope of information requested as needed
   to reduce the burden on the Department.

   Compliance here is appropriate under the relevant substantive law concerning privilege or
   disclosure of information, as there is no applicable privilege from discovery such as attorney-client
   communication or attorney-work product that is being requested.

   The disclosure would not violate any statute, executive order, regulation, or directive, but
   would instead remedy material misstatements made to multiple U.S. government agencies
   and help uphold the result of the government’s efforts in the Baby L. litigation. § 32 C.F.R.
   § 97.8(d).

   Disclosure of this information would remedy material misstatements made by the Masts to
   multiple government agencies and courts regarding the status of Baby Doe. Additionally, during
   the Baby L. litigation, the Department of Justice took the position that, because the Afghan
   government did not waive jurisdiction over Baby Doe, the Virginia court’s custody order was void
   for lack of jurisdiction, and that taking Baby Doe out of her home country to receive medical
   treatment in the U.S. pursuant to this order would have profound implications on U.S. military and
   foreign affairs interests.

   It is therefore in the public interest to disclose information that will allow a court of record to have
   full information from an authorized government agency regarding a matter with such implications.

   The disclosure is appropriate under the relevant substantive law concerning privilege and
   would not reveal properly classified information or other matters exempt from unrestricted
   disclosure. Additionally, disclosure will not interfere with ongoing enforcement proceedings,
   compromise constitutional rights, reveal the identity of an intelligence source or confidential
   informant, disclose trade secrets or similarly confidential information, or otherwise be
   inappropriate under the circumstances. § 32 C.F.R. § 97.8(e) and (f).

   The Department of Defense was the agency providing medical care to the child with permission
   from the GIRoA, and fully cooperated with the child’s family reunification in partnership with the
   State Department and international and local organizations. The family reunification occurred in
   compliance with DoD internal policies and applicable international laws of war and rules of
   engagement.

   Communications requested above reference facts that either Joshua Mast already has
   misrepresented and entered into court records using official information, or that were shared with
   outside agencies and governments and therefore were not classified or sensitive.
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   If this Touhy request is granted, the Does will submit a check in advance to the Department of
   Defense for all reasonable costs, including travel expenses.

           Please do not hesitate to contact me directly at meckstein@HuntonAK.com and/or 804-
   788-8788 should you require any additional information about this request. Thank you for your
   assistance in this matter.

                                              Sincerely,



                                              Maya M. Eckstein
